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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )                  8:10CR317
                v.                                )
                                                  )                  ORDER
MARK O. RYKS,                                     )
                                                  )
                         Defendant.               )

        Defendant Mark O. Ryks (Ryks) appeared before the court on January 16, 2015, on the Petition
for Warrant or Summons for Offender Under Supervision (Petition) (Filing No. 107).                Ryks was
represented by Assistant Federal Public Defender Michael F. Maloney and the United States was
represented by Special Assistant U.S. Attorney Martin J. Conboy, IV. Through his counsel, Ryks waived
his right to a probable cause hearing on the Petition pursuant to Fed. R. Crim. P. 32.1(a)(1). I find that
the Petition alleges probable cause and that Ryks should be held to answer for a final dispositional
hearing before Chief Judge Laurie Smith Camp.
        The government moved for detention. Through counsel, Ryks declined to present any evidence
or request a hearing on the issue of detention. Since it is Ryks’s burden under 18 U.S.C. § 3143 to
establish by clear and convincing evidence that he is neither a flight risk nor a danger to the community,
the court finds Ryks has failed to carry his burden and Ryks should be detained pending a dispositional
hearing before Chief Judge Smith Camp.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Chief Judge Laurie Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska, at 9:30 a.m. on March 5, 2015. Defendant must be present in person.
        2.      Defendant Mark O. Ryks is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.      Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 16th day of January, 2015.

                                                           BY THE COURT:
                                                           s/ Thomas D. Thalken
                                                           United States Magistrate Judge
